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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA,

 9                                Plaintiff,               Case No. 16-287 JLR

10          v.                                             DETENTION ORDER

11 BERNARDINO PEREZ MENDEZ,

12                                Defendant.

13          The Court has conducted a detention hearing under 18 U.S.C. § 3142(f), and concludes

14 there are no conditions which the defendant can meet which would reasonably assure the

15 defendant’s appearance as required or the safety of any other person and the community.

16         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

17          The Court received no verified information about defendant. He does not have legal

18 status in the country and he stipulated to detention.

19          It is therefore ORDERED:

20          (1)    Defendant shall be detained pending final disposition and committed to the

21 custody of the Attorney General for confinement in a correctional facility separate, to the extent

22 practicable, from persons awaiting or serving sentences, or being held in custody pending appeal;

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 1         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 2 counsel;

 3         (3)     On order of a court of the United States or on request of an attorney for the

 4 Government, the person in charge of the correctional facility in which Defendant is confined

 5 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

 6 connection with a court proceeding; and

 7         (4)     The Clerk shall provide copies of this order to all counsel, the United States

 8 Marshal, and to the United States Probation and Pretrial Services Officer.

 9         DATED this 14th day of December, 2016.

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                                                                 A
                                                         BRIAN A. TSUCHIDA
                                                         United States Magistrate Judge
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     DETENTION ORDER - 2
